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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              MARTINSBURG DIVISION

  UNITED STATES OF AMERICA,
                 Plaintiff,

                                                                       Criminal Action No.: 3:19CR17-5
  vs.                                                                  Honorable Gina M. Groh

  ALLEN CRAIG,
                         Defendant.

         DEFENDANT’S RESPONSE IN OPPOSITION TO UNITED STATES
        MOTION FOR ENTRY OF PRELIMINARY ORDER OF FORFEITURE
      INITIATING THE ANCILLARY PROCEEDING FOR THIRD PARTIES TO
   CONTEST FORFEITURE AND COURT’S PRELIMINARY ORDER OF FORFEITURE

         COMES NOW, Defendant, Allen Craig, by and through his Counsel, Kirk H. Bottner,

  Esquire, and files this Response in Opposition to the United States Motion for Entry of

  Preliminary Order of Forfeiture Initiating the Ancillary Proceeding for Third-Parties to Contest

  Forfeiture [Doc No. 346] and the Court’s Preliminary Order of Forfeiture [Doc No. 350]. Mr.

  Craig respectfully requests the Government’s motion be denied at this time. In Support, Mr.

  Craig offers the following:

                                             I. BACKGROUND

         This case concerns a twenty count Indictment, filed on March 19, 2019, against Mr. Craig

  and his co-defendants, Armstead William Craig, Sandra Aramburo; Jansen V. Carr; Victor

  Lamont Carr; Wayne Samuel Ellis Clyburn; Molly Huber; Hopeton Lee Newman, Jr.; and

  Shawn Kendall Murray. Count One charges that Mr. Craig and his co-defendants did knowingly

  and intentionally combine, conspire, confederate, agree, and have a tacit understanding together

  with each other, and with persons known and unknown to the Grand Jury to violate 21 U.S.C. §

  841(a)(1) and 21 U.S.C. §§ 846 and 841(b)(1)(C). Count Twenty of the Indictment charges that,

                       Defendant’s Response in Opposition to the United States Motion for
                 Entry of Preliminary Order of Forfeiture Initiating the Ancillary Proceeding for
                Third Parties to Contest Forfeiture and the Court’s Preliminary Order of Forfeiture
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  Mr. Craig did unlawfully, knowingly, intentionally, and without authority possess with intent to

  distribute a mixture and substance containing a detectable amount of cocaine base; in violation of

  21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

                                               II. ARGUMENT

         During the course of Mr. Craig’s case, he inquired several times about the forfeiture of

  his property. Additionally, not all the U.S. Currency Patrolman English located belonged to Mr.

  Craig. The $162 in U.S. Currency belonged to Lola Price, one of Mr. Craig’s roommates, it was

  part of her social security. The $82 in U.S. Currency belonged to Joseph Lindsey, Mr. Craig’s

  other roommate. The $1,090 in U.S. Currency belonged to Mr. Craig and was mostly change in

  a change jar with a few bills. Mr. Craig earned this money by making homeopathic teas and

  selling them to those in need.

         Due to Mr. Craig’s concern, Defense Counsel inquired of AUSA C. Lydia Lehman as

  Mr. Craig did not want to sign the plea with the forfeiture language. Defense Counsel was told

  Mr. Craig’s property had already been forfeited by the Federal Bureau of Investigation and was

  given a case number (19-FBI-005867) by AUSA Lehman. It was not until Defense Counsel

  reviewed the Motion of the United States for Entry of Preliminary Order of Forfeiture, that

  Defense Counsel became aware that Mr. Craig’s property had not been forfeited. Defense

  Counsel contacted AUSA L. Danae Demasi-Lemon and was informed that AUSA Lehman was

  misinformed, and it was actually Armstead Craig’s property that had been forfeited by the

  Federal Bureau of Investigation, not Allen Craig’s. Mr. Craig signed the plea agreement under

  the belief that his property had already been forfeited as Defense Counsel had been informed by

  AUSA Lehman. Mr. Craig thus wishes to challenge the forfeiture of his $1,090.00.



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                                              III. CONCLUSION

         The Defendant asserts that he challenges the forfeiture of his $1,090.00, and the

  Government’s motion should be denied at this juncture.


                                                                        Respectively Submitted,
                                                                        ALLEN CRAIG
                                                                        By Counsel

  Prepared By:

  /s/ Kirk H. Bottner
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                  Entry of Preliminary Order of Forfeiture Initiating the Ancillary Proceeding for
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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               MARTINSBURG DIVISION

  UNITED STATES OF AMERICA,
                 Plaintiff,

                                                                        Criminal Action No.: 3:19CR17-5
  vs.                                                                   Honorable Gina M. Groh

  ALLEN CRAIG,
                          Defendant.



                                      CERTIFICATE OF SERVICE

         I, Kirk H. Bottner, Esquire, Counsel for the Defendant, hereby certify that I have served a

  true copy of the foregoing Defendant’s Response in Opposition to the United States Motion for

  Entry of Preliminary Order of Forfeiture Initiating the Ancillary Proceeding for Third-Parties

  to Contest Forfeiture and the Court’s Preliminary Order of Forfeiture by using the CM/ECF

  system which will send notification of such filing to all counsel of record on this 2nd day of

  March, 2020.

                                                                        /s/ Kirk H. Bottner
                                                                        KIRK H. BOTTNER, ESQUIRE




                        Defendant’s Response in Opposition to the United States Motion for
                  Entry of Preliminary Order of Forfeiture Initiating the Ancillary Proceeding for
                 Third Parties to Contest Forfeiture and the Court’s Preliminary Order of Forfeiture
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